Case 1:21-cr-00091-RCL Document 226-1 Filed 11/10/23 Page 1 of 3




      GOVERNMENT
        EXHIBIT 1
       Case 1:21-cr-00091-RCL Document 226-1 Filed 11/10/23 Page 2 of 3




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA

            v.                                                CASE NO. 21-CR-91 (RCL)

  TAYLOR JOHNATAKIS,

            Defendant.

CERTIFICATION   OF AUTHENTICITY OF DATA COPIED FROM AN ELECTRONIC
       DEVICE, STORAGE MEDIUM, OR FILE PURSUANT TO FRE 902(14)

       I, Jeffrey Ralston, attest under penalties of perjury under the laws of the United States of

America pursuant to 28 U.S.C. § 1746, that the information contained in this declaration is true

and correct. I am employed by the Federal Bureau of Investigation (FBI), and my title is Digital

Forensic Examiner (DFE). I have been employed by the FBI for approximately 13 years. The

DFE is responsible for the lawfully authorized imaging, extracting/copying    of the contents of

electronic devices to include electronic storage media, cellular telephones, and other electronic

devices. By reason of my position and specialized training, I am authorized and qualified to

make this declaration as a "qualified person" under Rule 902(14) of the Federal Rules of

Evidence.

       I further state:

             1. On April 14,2021, I received a seized iPhone 12 Mini mobile phone,

   International Mobile Equipment Identifier (IMEI) 353007112399983,         serial number

   C7CDM5VLOGRN ("the Device"), which had been logged into evidence with the FBI as

   Item IB6, from the FBI Northern Virginia Resident Agency (NVRA) Evidence Control

   Center (ECC).
   Case 1:21-cr-00091-RCL Document 226-1 Filed 11/10/23 Page 3 of 3




        2. I performed an extraction of the Device on or about April 14, 2021, using a

specialized hardware device called GrayKey. This hardware device has been thoroughly

tested and verified by the FBI and known to create accurate and reliable images of mobile

digital devices.

        3. Furthermore, I know that the forensic copying process was complete and accurate

because the forensic software generated a hash (i.e., digital fingerprint) of the image and

because the software expressly indicated that the extraction was successful.

        4. The GrayKey device was working as designed on the date of extraction.

        5. After the extraction was created, the data was processed and provided to the FBI

Special Agent assigned to the investigation.

        6. The Device was then returned to the NVRA ECC.

        7. I certify that Government Exhibits 701 through 747, including all subparts,

consist of true and accurate copies of videos, audio recordings, photographs, and other items

from the extraction of the Device.

        8. I further state that this certification is intended to satisfy Federal Rules of

Evidence 902(13) and 902(14).




                                        ~n~~
                                         UATE:      November 6, 2023
